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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ROBERTO LOPEZ and MARIA LOPEZ,

             Plaintiffs,

v.                                                     No. CV 20-911 KG/CG

STATE FARM FIRE AND CASUALTY
COMPANY,

             Defendant.

                    ORDER ADOPTING JOINT STATUS REPORT
                      AND PROVISIONAL DISCOVERY PLAN

      THIS MATTER is before the Court on the Rule 16 Initial Scheduling Conference

and the parties’ Joint Status Report and Provisional Discovery Plan, (Doc. 12), filed

October 29, 2020. The Court adopts the Joint Status Report and Provisional Discovery

Plan as modified by the dates designated in the Court’s Scheduling Order, (Doc. 17).

      IT IS SO ORDERED.


                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
